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                            IN THE UNITED STATES DISTRICT COURT 


                              FOR THE DISTRICT OF DELAWARE 


DESHAWN DRUMGO,                                )

                                               )
               Plaintiff,                      )
                                               )
        v.                                     ) Civ. Action No. 08-592-GMS
                                               )

CPL. REGINALD BROWN, et al.,                   )

                                               )

               Defendants.                     )


                                    MEMORANDUM ORDER

        At Wilmington !hi s   .t   \ay of   IrrII.,    '2014, having considered the plaintiff's

motion for reconsideration (D.1. 146):

       The plaintiff, DeShawn Drurngo moves for reconsideration of the Court's March 11,

2014 order wherein the court denied his motion to amend and motion to withdraw attorney. (See

D.L 145.) The purpose of a motion for reconsideration is to "correct manifest errors of law or

fact or to present newly discovered evidence." Max's Seafood Cafe ex rei. Lou-Ann, Inc. v.

Quinteros, 176 F.3d 669,677 (3d Cir. 1999). "A proper Rule 59(e) motion ... must rely on one

of three grounds: (1) an intervening change in controlling law; (2) the availability of new

evidence; or (3) the need to correct a clear error of law or fact or to prevent manifest injustice.

Lazaridis v. Wehmer, 591 F.3d 666,669 (3d Cir. 2010) (citing North River Ins. Co. v. CIGNA

Reinsurance Co., 52 F.3d 1194, 1218 (3d Cir. 1995». A motion for reconsideration is not

properly grounded on a request that a court rethink a decision already made. See Glendon

Energy Co. v. Borough ofGlendon, 836 F. Supp. 1109, 1122 (E.D. Pa. 1993).

       The court denied Drumgo's motion to withdraw attorney on the grounds that it was not

timely filed. Drumgo has presented evidence that he sought withdrawal of counsel in a timely
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manner. Therefore, the court will vacate that portion of the order that denied the motion to

withdraw and will grant the motion to withdraw.

        With regard to the motion to amend, the court finds that Drumgo has failed to

demonstrate any of the necessary grounds to warrant reconsideration of that portion of the order

that denied the motion to amend.

        THEREFORE, IT IS ORDERED that:

        1. The plaintiffs motion for reconsideration (D.l. 146) is granted in part and denied in

part.

        2. That portion of the March 11,2011 order (D.l. 145) denying the motion to withdraw

attorney is vacated.

        3. The motion to withdraw attorney (D.1. 142) is granted.

        4. Thad J. Bracegirdle is withdrawn as counsel for the plaintiff who will proceed pro se

pending a second attempt to refer his representation to a member ofthe Federal Civil Panel.

        IT IS FURTHER HEREBY ORDERED that:

        1. The Clerk of Court is directed to attempt to refer representation of the plaintiff to a

member of the Federal Civil Panel.

        2. The court's Standing Order regarding the establishment of a Federal Civil Panel to

provide legal representation to indigent parties in certain civil litigation is incorporated herein by

reference.

        3. The matter is stayed pending the attempt to refer representation of the plaintiff to a

member of the Federal Civil Panel.




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       4. The plaintiff is place on notice that the court will not consider filings while the matter

is stayed. Filings will be docketed, but not considere



                                                                                       JUDGE




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